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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )           CASE NO. 8:02CR353
                                             )
                    Plaintiff,               )
                                             )
      vs.                                    )                    ORDER
                                             )
ROY C. STRAUGHAN,                            )
                                             )
                    Defendant.               )


      This matter is before the Court on the government’s motion for an extension of time

to file its answer to the Defendant’s motion to vacate, etc. under 28 U.S.C. § 2255 (Filing

No. 633).

      IT IS ORDERED:

      1.     The government’s motion for an extension of time to file its answer to the

Defendant’s motion to vacate, etc. under 28 U.S.C. § 2255 (Filing No. 633) is granted; and

      2.     The government shall file its answer on or before March 20, 2008.

      DATED this 25th day of February, 2008.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
